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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                    CASE NO. 18-CR-80124-RAR-2

  UNITED STATES OF AMERICA

  v.

  MARK AGRESTI,

        Defendant.
  ________________________________/

                     ORDER VACATING JUDGMENT AND SENTENCE

         THIS CAUSE comes before the Court sua sponte. On January 30, 2025, this Court entered

  an Order, [ECF No. 632], granting Defendant Mark Agresti’s Motion for New Trial, [ECF No.

  585]. Accordingly, it is hereby

         ORDERED AND ADJUDGED as follows:

         1. Pursuant to the Order Granting Motion for New Trial, [ECF No. 632], the Judgment

             and Sentence, [ECF No. 559], is VACATED.

         2. This matter is set for a status conference on February 12, 2025 at 11:00 A.M. Parties

             shall report to Courtroom 11-2, 11th Floor, at the Wilkie D. Ferguson, Jr. United States

             Courthouse, 400 North Miami Avenue, Miami, Florida 33128.

         DONE AND ORDERED in Miami, Florida this 30th day of January, 2025.



                                                          _________________________________
                                                          RODOLFO A. RUIZ II
                                                          UNITED STATES DISTRICT JUDGE
